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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                              )
TROY MILLER,                                  )
                                              )     CIVL ACTION NO. __________________
      Plaintiff,                              )
                                              )
    v.                                        )                     COMPLAINT
                                              )
COMENITY CAPITAL BANK                         )
  and                                         )             JURY TRIAL DEMANDED
EXPERIAN INFORMATION                          )
SOLUTIONS, INC.                               )
  and                                         )
EQUIFAX INFORMATION                           )
SERVICES LLC                                  )
                                              )
      Defendants.                             )

                                 PRELIMINARY STATEMENT

         1.      This is an action brought by an individual consumer against Comenity Capital

Bank (“Comenity”); Experian Information Solutions, Inc. (“Experian”); and Equifax Information

Services LLC (“Equifax”) for violations of the Fair Credit Reporting Act (“FCRA”), 15 U.S.C.

§§ 1681, et seq.; and Truth in Lending Act (“TILA”), 15 U.S.C. §§ 1601, et seq.

                                  JURISDICTION AND VENUE

         2.      Jurisdiction of this Court arises under 15 U.S.C. § 1681p, 15 U.S.C. § 1640(e),

and 28 U.S.C. § 1331.

         3.      Venue lies properly in this district pursuant to 28 U.S.C. § 1391(b).

                                              PARTIES

         4.      Plaintiff Troy Miller is an adult individual residing in Spring Grove, PA.
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       5.      Defendant Comenity is a business entity that regularly conducts business in the

Middle District of Pennsylvania and which has a principal place of business located at 12921

South Vista Station Blvd., Draper, UT 84020.

       6.      Defendant Experian is a consumer reporting agency that regularly conducts

business in the Middle District of Pennsylvania and which has a principal place of business

located at 475 Anton Blvd., Costa Mesa, CA 92626.

       7.      Defendant Equifax is a consumer reporting agency that regularly conducts

business in the Middle District of Pennsylvania and which has a principal place of business

located at 1550 Peachtree Street NW, Atlanta, GA 30309.

                                 FACTUAL ALLEGATIONS

       8.      Defendants have been reporting derogatory and inaccurate statements and

information relating to Plaintiff and Plaintiff’s credit history to third parties (“inaccurate

information”) from at least January 2020 through present.

       9.      The inaccurate information includes, but is not limited to an account with

Comenity (“Fraud Account”).

       10.     At all times pertinent hereto, Plaintiff was not responsible for the Fraud Account

reported by Comenity.

       11.     Instead, the Fraud Account was opened as a result of identity theft and fraud.

       12.     Plaintiff did not open or authorize the opening of the Fraud Account.

       13.     Plaintiff did not use, did not authorize the use, and did not benefit from the use of

the Fraud Account.

       14.     Notwithstanding the above, Comenity has been falsely furnishing and/or reporting

the information about the Fraud Account in connection with Plaintiff’s credit history to credit



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reporting agencies including but not limited to Equifax and Experian when they knew or should

have known that the Fraud Account did not belong to Plaintiff.

       15.     The inaccurate information negatively reflects upon the Plaintiff, Plaintiff’s credit

repayment history, Plaintiff’s financial responsibility as a debtor and Plaintiff’s creditworthiness.

       16.     Equifax and Experian have been reporting the inaccurate information through the

issuance of false and inaccurate credit information and consumer credit reports that it has

disseminated to various persons and credit grantors, both known and unknown. Equifax and

Experian have repeatedly published and disseminated consumer reports to such third parties from

at least January 2020 through the present.

       17.     Plaintiff has disputed the inaccurate information with Equifax and Experian from

January 2020 through the present.

       18.     Plaintiff’s disputes have contained “Identity Theft Reports” as that term is defined

and used in the FCRA.

       19.     Plaintiff has disputed the inaccurate information with Comenity from January

2020 through the present.

       20.     Notwithstanding Plaintiff’s efforts, Equifax and Experian have sent Plaintiff

correspondence indicating their intent to continue publishing the inaccurate information and

Equifax and Experian continue to publish and disseminate such inaccurate information to other

third parties, persons, entities and credit grantors.     Equifax and Experian have repeatedly

published and disseminated consumer reports to such third parties from at least January 2020

through the present.

       21.     Despite Plaintiff’s efforts, Equifax and Experian have never:           (1) contacted

Plaintiff to follow up on, verify and/or elicit more specific information about Plaintiff’s disputes;



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(2) contacted all third parties that would have relevant information concerning Plaintiff’s

disputes; (3) forwarded any relevant information concerning Plaintiff’s disputes to the entities

originally furnishing the inaccurate information; and (4) requested or obtained any credit

applications, or other relevant documents from the entities furnishing the inaccurate information.

        22.     Despite Plaintiff’s exhaustive efforts to date, Equifax and Experian nonetheless

deliberately, willfully, intentionally, recklessly and negligently repeatedly failed to perform

reasonable reinvestigations of the above disputes as required by the FCRA, failed to block the

Fraud Account from reporting on Plaintiff’s credit reports, failed to remove the inaccurate

information, and have continued to report the derogatory inaccurate information about the

Plaintiff.

        23.     Notwithstanding Plaintiffs’ disputes, Comenity has also failed to conduct timely

and reasonable investigations of Plaintiffs’ disputes after being contacted by the relevant credit

reporting agencies, and Plaintiff directly, concerning Plaintiffs’ disputes, and have willfully

continued to report such inaccurate information to various credit reporting agencies.

        24.     Despite being aware of the fact that the Fraud Account was opened due to identity

theft and fraud, Comenity continued to attempt to collect the debt from Plaintiff.

        25.     The charges made on the Fraud Account were “unauthorized use” as that term is

used in 15 U.S.C. § 1643.

        26.     Upon learning of the unauthorized use, Plaintiff notified Comenity that the

charges on the Fraud Account were unauthorized.

        27.     Despite knowing that debt associated with the Fraud Account was unauthorized,

Comenity continued to hold Plaintiff liable for the debt, and seek to collect the debt from

Plaintiff.



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        28.     Despite being notified that the debt associated with the Fraud Account was

unauthorized, Comenity failed to investigate Plaintiff’s dispute, and continued to hold Plaintiff

liable for the debt.

        29.     The Fraud Account is not an “accepted credit card[s]” as that term is used in 15

U.S.C. § 1643(a)(1)(A).

        30.     Comenity was notified that the Fraud Account was not “accepted credit card[s];”

however, Comenity continued to hold Plaintiff liable for the debt, and continued its attempt to

collect the debt from Plaintiff.

        31.     As of result of Defendants’ conduct, Plaintiff has suffered actual damages in the

form of lost credit opportunities, harm to credit reputation and credit score, and emotional

distress, including humiliation and embarrassment.

        32.     At all times pertinent hereto, Defendants were acting by and through their agents,

servants and/or employees who were acting within the course and scope of their agency or

employment, and under the direct supervision and control of the Defendants herein.

        33.     At all times pertinent hereto, the conduct of the Defendants, as well as that of

their agents, servants and/or employees, was intentional, willful, reckless, and in grossly

negligent disregard for federal laws and the rights of the Plaintiff herein.

                        COUNT ONE – VIOLATIONS OF THE FCRA
                            (Plaintiff v. Equifax and Experian)

        34.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

        35.     At all times pertinent hereto, Equifax and Experian were “person[s]” and

“consumer reporting agenc[ies]” as those terms are defined by 15 U.S.C. § 1681a(b) and (f).




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       36.     At all times pertinent hereto, Plaintiff was a “consumer” as that term is defined by

15 U.S.C. § 1681a(c).

       37.     At all times pertinent hereto, the above-mentioned credit reports were “consumer

reports” as that term is defined by 15 U.S.C. § 1681a(d).

       38.     Pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o, Equifax and Experian are

liable to the Plaintiff for willfully and negligently failing to comply with the requirements

imposed on a consumer reporting agency of information pursuant to 15 U.S.C. §§ 1681c-2;

1681e(b); and 1681i.

       39.     The conduct of Equifax and Experian was a direct and proximate cause, as well as

a substantial factor, in bringing about the serious injuries, actual damages and harm to Plaintiff

that are outlined more fully above and, as a result, Equifax and Experian are liable to Plaintiff for

the full amount of statutory, actual and punitive damages, along with the attorney’s fees and the

costs of litigation, as well as such further relief, as may be permitted by law.

                        COUNT TWO – VIOLATIONS OF THE FCRA
                                (Plaintiff v. Comenity)

       40.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

       41.     At all times pertinent hereto Comenity was a “person” as that term defined by 15

U.S.C. § 1681a(b).

       42.     At all times pertinent hereto Comenity was a “furnisher” as that term is used in 15

U.S.C. § 1681s-2(b).

       43.     Comenity violated sections 1681n and 1681o of the FCRA by willfully and

negligently failing to comply with the requirements imposed on furnishers of information

pursuant to 15 U.S.C. §1681s-2(b).


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        44.    Comenity’s conduct was a direct and proximate cause, as well as a substantial

factor, in causing the serious injuries, damages and harm to the Plaintiff that is outlined more

fully above, and as a result these Comenity is liable to compensate Plaintiff for the full amount of

statutory, actual and punitive damages, along with attorney’s fees and costs, as well as such other

relief, permitted by law.

                      COUNT THREE – VIOLATIONS OF THE TILA
                               (Plaintiff v. Comenity)

        45.    Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

        46.    At all relevant times, Comenity was a “Card Issuer[s]” as that term is used in the

TILA.

        47.    In the ordinary course of business, Comenity regularly extends open-ended

consumer credit in the form of consumer credit cards.

        48.    The Fraud Account is an open-ended consumer credit accounts.

        49.    Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1602(i).

        50.    Pursuant to 15 U.S.C. § 1643, a consumer is not liable for unauthorized

transactions on a card that is not an accepted card.

        51.    The Fraud Account is a credit card that was not “accepted” as that term is used in

the TILA.

        52.    The Fraud Account was opened without Plaintiff’s knowledge, authorization or

consent, and was opened as a result of identity theft and fraud.

        53.    The debt associated with the Fraud Account is the result of “unauthorized use” as

that term is used in 15 U.S.C. § 1643.




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       54.     The debt associated with the Fraud Account is the result of use of the accounts by

a person, other than Plaintiff, who did not have actual, implied, or apparent authority to use the

Fraud Account.

       55.     Plaintiff did not benefit from the use of the Fraud Account.

       56.     Despite the fact that the debt associated with the Fraud Account was the result of

an unaccepted credit card, and unauthorized use, Comenity continued to hold Plaintiff liable for

the debt, and demand Plaintiff pay the debt.

       57.     The conduct of Comenity was a direct and proximate cause, as well as a

substantial factor, in bringing about the serious injuries, actual damages and harm to the Plaintiff

that are outlined more fully above and, as a result, Comenity is liable to the Plaintiff for the full

amount of statutory, actual and punitive damages, along with the attorney’s fees and the costs of

litigation, as well as such further relief, as may be permitted by law.

                       COUNT FOUR – VIOLATIONS OF THE TILA
                               (Plaintiff v. Comenity)

       58.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

       59.     Pursuant to 15 U.S.C. § 1666(a), and 12 C.F.R. § 1026.13(c), (f), Comenity is

required to perform a reasonable investigation upon receipt of a billing error dispute.

       60.     Notification that accounts were opened due to identity theft and fraud, and

notification that charges on an account are the result of identity theft and fraud are “billing error

disputes” as that term is used in the TILA.

       61.     Comenity was properly and timely notified in writing that the Fraud Account and

charges made on the accounts were the result of identity theft and fraud.




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        62.     Despite receiving that notification, Comenity failed to perform a reasonable

investigation into Plaintiff’s dispute.

        63.     By failing to perform a reasonable investigation upon receipt of Plaintiff’s

dispute, Defendant violated 15 U.S.C. § 1666(a) and 12 C.F.R. § 1026.13(c), (f).

        64.     The conduct of Comenity was a direct and proximate cause, as well as a

substantial factor, in bringing about the serious injuries, actual damages and harm to the Plaintiff

that are outlined more fully above and, as a result, Comenity is liable to the Plaintiff for the full

amount of statutory, actual and punitive damages, along with the attorney’s fees and the costs of

litigation, as well as such further relief, as may be permitted by law.

                                   JURY TRIAL DEMANDED

        65.     Plaintiff demands trial by jury on all issues so triable.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and damages against the

Defendants, based on the following requested relief:

                (a)     Actual damages;

                (b)     Statutory damages;

                (c)     Punitive damages;

                (d)     Costs and reasonable attorney’s fees; and

                (e)     Such other and further relief as may be necessary, just and proper.

                                                Respectfully Submitted,

                                                FRANCIS MAILMAN SOUMILAS, PC

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